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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

UNITED STATES OF AMERICA §
                                                § NO. 4T8CR195
v.           §    Judge                       Crone
                                                §
GREGORY DOUGLAS BENSON §

                           FIRST SUPERSEDING NDICTMENT
                                                                                     APR 1.0 2019
The United States Grand Jury charges:                                            Clerk, U.S, Diurldt Geurt
                                                                                      Texas Easte
                                          Count One

                                                          Violation: 18 U.S.C. § 922(g)(3)
                                                           (Possession of Firearm by a Drug
                                                          User)

On or about June 8, 2018, in Collin County, Texas, in the Eastern District of Texas, Gregory

Douglas Ben on, defendant, then being an unlawful user of a controlled substance as defined in

21 U.S.C. Sec. 802, did knowingly possess in and affecting interstate commerce the following

firearms (1) a Glock, Model 42, .380 caliber, semi-automatic pistol serial #ACAZ472, and a

Romarm/Cugir, Model GP WASR 10/63, 7.62 x 39 caliber, semi-automatic rifle, bearing serial

#1980KV1246, in violation of 18 U.S.C. §§ 922(g)(3) and 924(a)(2).

                                          Count Two

                                                          Violation: 18 U.S.C. § 922(g)(3)
                                                          (Possession of Firearm by a Drug
                                                          User)

       On or about August 21, 2018, in Collin County, Texas, in the Eastern District of Texas,

Gregory Douglas Benson, defendant, then being an unlawful user of a controlled substance as

defined in 21 U.S.C. Sec. 802, did knowingly possess in and affecting interstate commerce the



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following firearm: a Smith and Wesson, .38 special revolver bearing serial #CEK2010 in violation of

18 U.S.C. §§ 922(g)(3) and 924(a)(2).

                                                      A TRUE BILL


                                                      FOREMAN


JOSEPH D. BROWN
UNITED STATES ATTORNEY



MAUREEN SMITH
Assistant United StatesiAttoriiey




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

UNITED STATES OF AMERICA §
                                             §          NO. 4:18CR/< 5
v.                             §                        Judge
                                             §
 GREGORY DOUGLAS BENSON §

                                 NOTICE OF PENALTY

                                    Counts One and Two

Violation: 18 U.S.C. § 922(g)(3)

Penalty: Imprisonment for a term of not more than 10 years, a fine not to exceed $250,000;
              supervised release for a term of not more than 3 years.

Special Assessment: $100.00 count




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